HAWAh&-SobACHE Document 97-3 Filed o8/s012 Page 1 of1 PCRANEINER.

FEDERAL CREDIT UNION
P.. Box 3072 ¢ Honolulu, Hl 96802-3072

Open-End Disbursement
Receipt Plus

BORROWER 1 NAME ) ACCOUNT NUMBER — DATE °
BRANDON C HALEAMAU 09/08/2008

BORROWER 2 NAME

PROPERTY/MODEL YEAR 1.D. NUMBER VALUE KEY NUMBER
‘NISSAN GTR 2009 JN1AR54M19M220020 $ 70850.00
$
$
$
PLEDGE OF SHARES ACCOUNT PLEDGE OF SHARES ACCOUNT
AND/OR DEPOSITS $ NUMBER AND/OR DEPOSITS NUMBER

ENT TERM:

GE RATE INTEREST RATE IS: OTHER FEES (Amount and Description) NEW BALANCE THIS SUBACCOUNT

0.0161644 % 5.9000 % FIXED $ $ 50000.00
AMOUNT ADVANCED PAYMENT AMOUNT DATE DUE PAYMENT FREQUENCY LINE OF CREDIT LIMIT REMAINING LIMIT
'¢ 50000.00 $ 966.00 150CT2008 MONTHLY $ ¢ 0.00

By endorsing the proceeds check for the advance described above, or by having the loan proceeds deposited into your share/share draft
account or paid to a third party, you agree: (1) that the property described in the Security Offered section above ("Property") is security
under the terms of the LOANLINER Credit and Security Agreement (the "Plan") for all amounts you owe under the Plan and that the
property description is incorporated into and a part of the Plan; (2} that the Property is also security for any other loans, including but
not limited to, any credit card loan that you have with the credit union now or in the future; and (3) to make payments as disclosed
above and in accordance with the terms of the Plan.

‘NOTICE: ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT IS SUBJECT TO ALL CLAIMS AND DEFENSES WHICH
“THE DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED PURSUANT HERETO OR
WITH THE PROCEEDS HEREOF. RECOVERY HEREUNDER BY THE DEBTOR SHALL NOT EXCEED AMOUNTS PAID BY
THE DEBTOR HEREUNDER.

UNION: 0.

REQUESTED: MEMBER PAYS CHECK NUMBER: BRANCH NUMBER: p
PREMIUM FOR:
PLAN/SUBACCOUNT NO.: NOTE #2008-150908 processen By:
DATE LOAN OFFICER COMMENTS: LOAN OFFICER
O8SEP2008 INITIALS GML

SIGNATURE(S) FOR OWNER OF COLLATERAL WHO ARE NOT BORROWER(S)
(Borrowers do not need to sign.)

By signing below, I/we agree to be bound by the terms of the Security Agreement including the cross collateral clause.

xX x

OWNER OF COLLATERAL (OTHER THAN BORROWER) OWNER OF COLLATERAL (OTHER THAN BORROWER}

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